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                         IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
 ----------------------------------------------------------- X
                                                             :
In re                                                        :     Chapter 11
                                                             :
MATTRESS FIRM, INC., et al.,1                                :     Case No. 18-12241 (CSS)
                                                             :
         Debtors.                                            :     Jointly Administered
                                                             :
                                                             : Hearing Date: November 19, 2018 at 2:00 p.m. (ET)
                                                                Objection Deadline: November 12, 2018 at 4:00 p.m. (ET)
                                                              :
                                                              : Re: Docket No. 364
 ----------------------------------------------------------- X

     AMENDED2 NOTICE OF MOTION SEEKING ENTRY OF ORDER PURSUANT TO
          §105(a) and §362(d) OF THE BANKRUPTCY CODE LIFTING THE
      AUTOMATIC STAY TO ALLOW TEMPUR-PEDIC NORTH AMERICA, LLC,
           TEMPUR-PEDIC MANAGEMENT, LLC AND DAN-FOAM APS
          TO PROCEED WITH PENDING DISTRICT COURT LITIGATION

                  PLEASE TAKE NOTICE that on October 22, 2018, Tempur-Pedic North America,

LLC, Tempur-Pedic Management, LLC and Dan-Foam ApS (collectively, “Tempur Sealy”) filed

the Motion Seeking Entry of an Order Pursuant to §105(a) and §362(d) of the Bankruptcy Code

Lifting the Automatic Stay to Allow Tempur-Pedic North America, LLC, Tempur-Pedic

Management, LLC and Dan-Foam ApS to Proceed with Pending District Court Litigation [Docket

No. 364] (the “Motion”) with the United States Bankruptcy Court for the District of Delaware (the

“Court”).

                  PLEASE TAKE FURTHER NOTICE that the Court has scheduled the Motion for

a Hearing on November 19, 2018 at 2:00 p.m. (Prevailing Eastern Time) before the Honorable


1
  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address
is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which
are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification
numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing and claims
agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
2
  This Amended Notice sets forth the date and time of the hearing on the Motion per the Court’s Order Denying
Tempur Sealy’s Motion to Shorten [Docket No. 385].


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Christopher S. Sontchi, United States Bankruptcy Judge, at the United States Bankruptcy Court

for the District of Delaware, 824 Market Street North, 5th Floor, Courtroom 6, Wilmington,

Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the

Motion shall be in writing, shall state with particularity the reasons for the objection or response,

and shall be filed with the Court and served upon counsel to Tempur Sealy, Cleary Gottlieb Steen

& Hamilton LLP, One Liberty Plaza, New York, New York 10006, Attention: James L. Bromley,

and Benjamin S. Beller, and Whiteford, Taylor & Preston LLC, 405 North King Street, Suite 500,

Wilmington, Delaware 19801, Attention: Christopher M. Samis, so as to be filed and received by

4:00 p.m. (Prevailing Eastern Time) on November 12, 2018. Only those objections which have

been timely filed and served may be considered by the Court at the Hearing.

               PLEASE TAKE FURTHER NOTICE that replies, if any, shall be filed with the

Court, so as to be filed and received by 4:00 p.m. (Prevailing Eastern Time) on November 14,

2018.

               PLEASE TAKE FURTHER NOTICE that if you fail to respond in accordance with

this Notice, the Court may grant the relief demanded by the Motion without further notice or

hearing.

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Dated: October 25, 2018             Respectfully submitted,
       Wilmington, Delaware

                                    /s/ Aaron H. Stulman
                                    Christopher M. Samis (No. 4909)
                                    L. Katherine Good (No. 5101)
                                    Aaron H. Stulman (No. 5807)
                                    WHITEFORD, TAYLOR & PRESTON
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                                            kgood@wtplaw.com
                                            astulman@wtplaw.com

                                    -and-

                                    James L. Bromley (admitted pro hac vice)
                                    Benjamin S. Beller (admitted pro hac vice)
                                    CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                    One Liberty Plaza
                                    New York, New York 10006
                                    Telephone: 212-225-2000
                                    Facsimile: 212-225-3999
                                    Email: jbromley@cgsh.com
                                           bbeller@cgsh.com


                                    Counsel for Tempur-Pedic North America,
                                    LLC, Tempur-Pedic Management, LLC and
                                    Dan-Foam ApS




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